                    UNITED STATES BANKRUPTCY COURT
                      EASTERN DISTRICT OF MICHIGAN
                       SOUTHERN DIVISION-DETROIT

IN THE MATTER OF:                               Case No. 21-42581
                                                Chapter 7
Moose M. Scheib,
     Debtor                                     Hon. Mark A. Randon

and

KELLY SILVERA JARRETT,                          Adv Proc No. 21-04167
    Plaintiff,
v.                                              Hon. Mark A. Randon

MOOSE SCHIEB, a/k/a MUSTAPHA SCHIEB
a/k/a MUSTAPHA CHEAIB,
      Defendant.


                            CERTIFICATE OF SERVICE

      I certify that on September 2, 2022, I electronically served the following on the
parties:
      1. Joint Final Pretrial Statement
      2. Subpoena to Mbank

 Moose Scheib                                  Moose Scheib
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By means of electronic and first-class mail.

                                        Respectfully submitted,
                                        JOHNSON LAW, PLC

                                    By: /s/ Paul F. Doherty
                                       Paul F. Doherty (P36579)
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Date: September 2, 2022                pdoherty@venjohnsonlaw.com
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